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                                                                                                                      E-FILED
                                                                                    Monday, 14 May, 2018 09:35:41 AM
                                                                                        Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS


AARON O’NEAL,                                               )
                                                            )
        Plaintiff,                                          )
                                                            )
        v.                                                  )          18-CV-4063
                                                            )
MANUEL ROJAS, et al.,                                       )
                                                            )
        Defendants.                                         )


                                   MERIT REVIEW OPINION

SUE E. MYERSCOUGH, U.S. District Judge.

        Plaintiff proceeds pro se from his incarceration in Hill

Correctional Center. His Complaint is before the Court for a merit

review pursuant to 28 U.S.C. § 1915A. This section requires the

Court to identify cognizable claims stated by the Complaint or

dismiss claims that are not cognizable.1 In reviewing the complaint,

the Court accepts the factual allegations as true, liberally

construing them in Plaintiff's favor and taking Plaintiff’s pro se

status into account. Turley v. Rednour, 729 F.3d 645, 649 (7th Cir.

2013). However, conclusory statements and labels are insufficient.


1
 A prisoner who has had three prior actions dismissed for failure to state a claim or as frivolous or malicious can
no longer proceed in forma pauperis unless the prisoner is under “imminent danger of serious physical injury.” 28
U.S.C. § 1915(g).

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Enough facts must be provided to "'state a claim for relief that is

plausible on its face.'" Alexander v. U.S., 721 F.3d 418, 422 (7th

Cir. 2013)(quoted cite omitted).

     Plaintiff is Catholic and has requested to be served a meatless

meal on Fridays during lent. When his request was denied, Plaintiff

confronted Defendant Rojas (the Chaplain at Hill Correctional

Center), whereupon Defendant Rojas retaliated against Plaintiff by

removing Plaintiff as a participant in a special Catholic service

known as Cursillo. All the other Defendants acquiesced or played a

part in these denials.

     At this point, the Court cannot rule out claims under the First

Amendment (right to practice religion), Fourteenth Amendment

(equal protection), and the Religious Land Use and Institutionalized

Persons Act (right to practice religion). Plaintiff may also state a

retaliation claim against Defendant Rojas, which will proceed for

further development. Issues of personal responsibility and state

action will be resolved on a more developed record.

IT IS THEREFORE ORDERED:

     1) Pursuant to its merit review of the Complaint under 28

U.S.C. § 1915A, the Court finds that Plaintiff states claims under
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the First Amendment (right to practice religion and retaliation),

Fourteenth Amendment (equal protection), and the Religious Land

Use and Institutionalized Persons Act (right to practice religion).

This case proceeds solely on the claims identified in this paragraph.

Any additional claims shall not be included in the case, except at

the Court’s discretion on motion by a party for good cause shown or

pursuant to Federal Rule of Civil Procedure 15.

     2) This case is now in the process of service. Plaintiff is

advised to wait until counsel has appeared for Defendants before

filing any motions, in order to give Defendants notice and an

opportunity to respond to those motions. Motions filed before

Defendants' counsel has filed an appearance will generally be

denied as premature. Plaintiff need not submit any evidence to the

Court at this time, unless otherwise directed by the Court.

     3) The Court will attempt service on Defendants by mailing

each Defendant a waiver of service. Defendants have 60 days from

the date the waiver is sent to file an Answer. If Defendants have not

filed Answers or appeared through counsel within 90 days of the

entry of this order, Plaintiff may file a motion requesting the status



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of service. After Defendants have been served, the Court will enter

an order setting discovery and dispositive motion deadlines.

     4) With respect to a Defendant who no longer works at the

address provided by Plaintiff, the entity for whom that Defendant

worked while at that address shall provide to the Clerk said

Defendant's current work address, or, if not known, said

Defendant's forwarding address. This information shall be used

only for effectuating service. Documentation of forwarding

addresses shall be retained only by the Clerk and shall not be

maintained in the public docket nor disclosed by the Clerk.

     5) Defendants shall file an answer within 60 days of the date

the waiver is sent by the Clerk. A motion to dismiss is not an

answer. The answer should include all defenses appropriate under

the Federal Rules. The answer and subsequent pleadings shall be

to the issues and claims stated in this Opinion. In general, an

answer sets forth Defendants' positions. The Court does not rule

on the merits of those positions unless and until a motion is filed by

Defendants. Therefore, no response to the answer is necessary or

will be considered.



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     6) This District uses electronic filing, which means that, after

Defense counsel has filed an appearance, Defense counsel will

automatically receive electronic notice of any motion or other paper

filed by Plaintiff with the Clerk. Plaintiff does not need to mail to

Defense counsel copies of motions and other papers that Plaintiff

has filed with the Clerk. However, this does not apply to discovery

requests and responses. Discovery requests and responses are not

filed with the Clerk. Plaintiff must mail his discovery requests and

responses directly to Defendants' counsel. Discovery requests or

responses sent to the Clerk will be returned unfiled, unless they are

attached to and the subject of a motion to compel. Discovery does

not begin until Defense counsel has filed an appearance and the

Court has entered a scheduling order, which will explain the

discovery process in more detail.

     7) Counsel for Defendants is hereby granted leave to depose

Plaintiff at his place of confinement. Counsel for Defendants shall

arrange the time for the deposition.

     8) Plaintiff shall immediately notify the Court, in writing, of

any change in his mailing address and telephone number.

Plaintiff's failure to notify the Court of a change in mailing address

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or phone number will result in dismissal of this lawsuit, with

prejudice.

     9) If a Defendants fails to sign and return a waiver of service

to the clerk within 30 days after the waiver is sent, the Court will

take appropriate steps to effect formal service through the U.S.

Marshal's service on that Defendant and will require that Defendant

to pay the full costs of formal service pursuant to Federal Rule of

Civil Procedure 4(d)(2).

     10) Within 10 days of receiving from Defendants' counsel an

authorization to release medical records, Plaintiff is directed to sign

and return the authorization to Defendants' counsel.

     11) Plaintiff’s motion for the Court to appoint counsel is

denied (d/e 2), with leave to renew after Plaintiff demonstrates that

he has made reasonable efforts to find counsel on his own. Pruitt v.

Mote, 503 F.3d 647, 654-55 (7th Cir. 2007). This typically requires

writing to several lawyers and attaching the responses. If Plaintiff

renews his motion, he should set forth how far he has gone in

school, any jobs he has held inside and outside of prison, any

classes he has taken in prison, and any prior litigation experience

he has.

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     12) Plaintiff’s motion for class certification is denied

because Plaintiff is pro se. (d/e 3.) See Howard v. Pollard, 814

F.3d 476 (7th Cir. 2015).

     13) Plaintiff’s motion to correct his complaint is denied as

unnecessary. (d/e 8.) The corrections are not substantive.

     14) The clerk is directed to enter the standard order

granting Plaintiff's in forma pauperis petition and assessing an

initial partial filing fee, if not already done, and to attempt

service on Defendants pursuant to the standard procedures.

     15) The Clerk is directed to enter the standard qualified

protective order pursuant to the Health Insurance Portability

and Accountability Act.

ENTERED:     May 14, 2018

FOR THE COURT:

                                s/Sue E. Myerscough
                                 SUE E. MYERSCOUGH
                             UNITED STATES DISTRICT JUDGE




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